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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 12-cv-01381-WYD-KMT

  HEATHER CARTER,

         Plaintiff,

  v.

  DAVID C. LOUCKS, M.D.,
  RICHARD M. LOTSPEICH, P.A.-C., and
  PEAK ORTHOPEDICS AND SPINE, P.L.L.C.,

         Defendants.

  ______________________________________________________________________________

      STIPULATION FOR DISMISSAL WITH PREJUDICE OF CLAIMS AGAINST
                DEFENDANTS RICHARD M. LOTSPEICH, P.A.-C AND
                     PEAK ORTHOPEDICS AND SPINE, P.L.L.C.
  ______________________________________________________________________________

         The parties Plaintiff and Defendants Richard M. Lotspeich, P.A.-C and Peak Orthopedics

  and Spine, P.L.L.C., by and through respective counsel, for the Stipulation for Dismissal With

  Prejudice of Claims against Richard M. Lotspeich, P.A.-C and Peak Orthopedics and Spine,

  P.L.L.C., state as follows:

         1.      Plaintiff and Richard M. Lotspeich, P.A.-C and Peak Orthopedics and Spine,

  P.L.L.C. have resolved this matter and the parties stipulate to the dismissal with prejudice of all

  claims alleged, or which could have been alleged against Richard M. Lotspeich, P.A.-C and Peak

  Orthopedics and Spine, P.L.L.C.

         2.      This stipulation does not involve any admission of liability or payment of money

  by Richard M. Lotspeich, P.A.-C and Peak Orthopedics and Spine, P.L.L.C.
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         3.     Each party is to pay their own costs and attorney's fees.

         4.     IT IS FURTHER STIPULATED AND AGREED that any party hereto may apply

  to the Court for an Order of Dismissal with Prejudice of the claims against Richard M. Lotspeich,

  P.A.-C and Peak Orthopedics and Spine, P.L.L.C. without notice.

         Dated this 6th day of May, 2013.




   s/ James E. Puga                                 s/ Christopher K. Miller
   James E. Puga                                    Christopher K. Miller
   Daniel A. Lipman                                 KENNEDY CHILDS P.C.
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   Attorneys for Plaintiff                          Attorneys for Defendants
                                                    Richard M. Lotspeich, P.A.-C and
                                                    Peak Orthopedics and Spine, P.L.L.C.




   s/ David D. Karr
   David D. Karr, Esq.
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 6th day of May, 2013, I electronically filed the foregoing
  STIPULATION FOR DISMISSAL WITH PREJUDICE OF CLAIMS AGAINST
  DEFENDANTS RICHARD M. LOTSPEICH, P.A.-C AND PEAK ORTHOPEDICS AND
  SPINE, P.L.L.C. with the Clerk of Court using the CM/ECF system which will send notification
  of such filing to the following email addresses:


  Dave Karr, Esq.
  Rusty D. Miller
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                                             s/ Sheila A. Morse
                                             Sheila A. Morse
